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4
     Attorneys for Defendant,
5    YOUSEF NAZEM ALNAJAR

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7
                                  IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                           Case No. 1:18CR-00135-DAD-BAM
10                                                       STIPULATION FOR CONTINUANCE OF
                     Plaintiff,
                                                         HEARING ON DEFENDANT, YOUSEF
11           vs.                                         NAZEM ALNAJAR’S MOTION TO
                                                         SUPPRESS; AND ORDER THEREON
12                                                       Date: February 19, 2019
     YOUSEF NAZEM ALNAJAR
                                                         Time: 10:00 a.m.
13                                                       Courtroom: 5
                     Defendant.
                                                         Judge: D. Drozd
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16       IT IS HEREBY STIPULATED AND AGREED to between the United States of America
17   through GRANT B. RABENN, Assistant U.S. Attorney and defendant YOUSEF NAZEM

18   ALNAJAR by and through his counsel, H. TY KHARAZI, YARRA LAW GROUP, that the

     hearing on Defendant’s Motion to Suppress set for February 19, 2019 at 10:00 a.m. in Courtroom 5
19
     be continued to May 13, 2019 at 10:00 a.m. in Courtroom 5.
20
         The continuance is requested by the parties to allow for further settlement discussions between
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     this Defendant and the Government attorneys. This continuance request is without prejudice to
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     either party’s rights to file a reply or further supplemental briefings if the settlement in this matter is
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     not reached.
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       Case 1:18-cr-00135-DAD-BAM Document 59 Filed 01/29/19 Page 2 of 2


1    Dated: January 29, 2019                      Respectfully submitted,

2                                                 YARRA LAW GROUP
3                                                 /s/ H. Ty Kharazi
                                                  H. Ty Kharazi, Attorney for Defendant,
4                                                 Yousef Nazem Alnajar
5
     Dated: January 29, 2019                      UNITED STATES ATTORNEY
6
                                                  /s/ Grant B. Rabenn
7
                                                  Grant B. Rabenn, Assistant U.S Attorney for Plaintiff,
                                                  United States of America
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9

10                                                 ORDER
11      For the reasons stated in the parties’ stipulation, the Defendant’s Motion to Suppress set for

12   February 19, 2019 at 10:00 a.m. in Courtroom 5 is continued to May 13, 2019 at 10:00 a.m. in

13   Courtroom 5.

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     IT IS SO ORDERED.
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        Dated:      January 29, 2019
16                                                     UNITED STATES DISTRICT JUDGE
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